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                        UNITED STATESDISTRICT COURT                    U . SO, I i1i . i ; I ;C
                                                                                              TC U R T
                        SOUTHERNDISTRICT OF GEORGIA                        AlJ0ii3l,n,       iltv
                         AUGUSTA AndDUBLIN DIVISIONS
                                                                       6lqt]EC-lp t:Zb
                                                                              J,$r.,.ilrrt-,
 IN RE:                                   )   CaseNos.:          qK&tj
                                                          cR114-10s,
 LEAVE OF ABSENCEREQUESTFOR               )               CRl14-124,
                                                                  USv."
 LAMONT A. BELK                           )
 DECEMBER22,2014through                   )               CR314-006,
                                                                  US v. G. P. Range
 JANUARY 2,2015


                                       ORDER

      Uponconsideration
                      of theMotion for LeaveofAbsencehled by the UnitedStatesof

Americain the above-cited
                        caseson behalfof AssistantUnitedStatesAttomeyLamontA. Belk

for December22, 2014throughJanuary2,2015,for traveloutsideofthe district,the sameis

herebyGRANTED.



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                                 SOUTHERNDISTRICTOF GEORGIA
